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UNITED STATES DISTRICT COURT Bos, Fe ¢f ta fF
SOUTHERN DISTRICT OF NEW YORK Lecmecsey repel

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Plaintiff(s), CALENDAR NOTICE

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K. Crude . [702110 V8)

 

Defendant(s).
x
TAKE NOTICE that the above-captioned case has been sehectted/
Pcheded for:
___ Status conference | ___ Final pretrial conference
____ Telephone conference ___ Jury selection and trial
___ Pre-motion conference ____ Bench trial
____ Settlement conference ___ Suppression hearing

___ Oral argument , ___ Ple4 hearing
____ Bench ruling on motion Sentencing
on_~ 7 7 2 P- 202! , Z 150 fA, in Courtroom 620, United States

Courthouse, 300 Quarropas Steet White Plains, NY 10601. Adjourned from D-|H2]

All requests for adjournments or extensions of time must be in writing and
filed on ECF as letter-motions, in accordance with paragraph 1(F) of the Court's
Individual Practices. Absent special circumstances, such requests shall be made at
least two business days prior to the scheduled appearance.

Dated: / -{(2 ~,20 Z|
White Plains, NY

 

SO ORDERED:

Vand (nee

Vincent L. Briccetti
United States District Judge
